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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,                                       4:12CR3124

       vs.
                                                                 DETENTION ORDER
EUSEBIA BUENO,

                       Defendant.


        After conducting a detention hearing under the Bail Reform Act, 18 U.S.C. § 3142(f), the
court concludes the defendant must be detained pending trial.

        There is a rebuttable presumption that no condition or combination of conditions of release
will reasonably assure the defendant’s appearance at court proceedings and the safety of the
community because there is probable cause to believe the defendant committed a drug crime under
the Controlled Substances Act (21 U.S.C. § 801 et seq.), for which the defendant could be required to
serve ten or more years in prison. The defendant has not rebutted this presumption.

       Specifically, the court finds:

       As to the charges set forth in the complaint, there is substantial evidence to support a finding
       of probable cause.
       The defendant’s release would place others, particularly her grandchildren, at risk of
       exposure to illegal drugs.
       The defendant is not a United States citizen, has extensive family in Mexico, stated
       she hates the United States, had planned to visit her mother in Mexico in December,
       and, if released, would likely flee the country before trial.
       The defendant has failed to appear for court proceedings in the past.

                                    Directions Regarding Detention

         The defendant is committed to the custody of the Attorney General or a designated
representative for confinement in a corrections facility separate, to the extent practicable, from
persons awaiting or serving sentences or held in custody pending appeal. The defendant must be
afforded a reasonable opportunity to consult privately with defense counsel. On order of United
States Court or on request of an attorney for the Government, the person in charge of the corrections
facility must deliver the defendant to the United States marshal for a court appearance.

       November 16, 2012.
                                                       BY THE COURT:

                                                       s/ Cheryl R. Zwart
                                                       United States Magistrate Judge
